         Case 3:13-cv-01045-SI       Document 151-1        Filed 08/07/14    Page 1 of 112




Thomas Freedman Jr. (OSB No. 080697) thomas@prllaw.com
Pearl Law LLC
552 SW 5th Avenue, Suite 1100
Portland, Oregon 97204
Tel: (503) 295-6296 | Fax: (503) 295-6344

Valentin Gurvits (pro hac vice) vgurvits@bostonlawgroup.com
Matthew Shayefar (pro hac vice) matt@bostonlawgroup.com
Boston Law Group, PC
825 Beacon Street, Suite 20
Newton Centre, Massachusetts 02459
Tel: (617) 928-1800 | Fax: (617) 928-1802

Sean Ploen (pro hac vice) sploen@ploen.com
Ploen Law Firm, PC
100 South Fifth Street, Suite 1900
Minneapolis, Minnesota 55402
Tel: (651) 894-6800 | Fax: (651) 894-6801

Evan Fray-Witzer (pro hac vice) evan@CFWLegal.com
Ciampa Fray-Witzer, LLP
20 Park Plaza, Suite 505
Boston, Massachusetts 02116
Tel: (617) 426-0000 | Fax: (617) 507-8043

Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT A – PART I
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                             Page 1
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                    Exhibit A – Part I to Plaintiff’s
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com         First Amended Complaint
         Case 3:13-cv-01045-SI       Document 151-1        Filed 08/07/14   Page 2 of 112




TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
Matthew Shayefar (pro hac vice)                     Evan Fray Witzer (pro hac vice)
Valentin Gurvits (pro hac vice)                     Ciampa Fray-Witzer, LLP
Boston Law Group, PC                                20 Park Plaza, Suite 505
825 Beacon Street, Suite 20                         Boston, Massachusetts 02116
Newton Centre, Massachusetts 02459                  Tel: (617) 426-0000
Tel: (617) 928-1800                                 Fax: (617) 507-8043
Fax: (617) 928-1802                                 evan@CFWLegal.com
matt@bostonlawgroup.com
vgurvits@bostonlawgroup.com                         /s/ Thomas Freedman Jr.
                                                    Thomas Freedman Jr. (OSB No. 080697)
/s/ Sean Ploen                                      Pearl Law LLC
Sean Ploen (pro hac vice)                           552 SW 5th Avenue, Suite 1100
Ploen Law Firm, PC                                  Portland, Oregon 97204
100 South Fifth Street, Suite 1900                  Tel: (503) 295-6296
Minneapolis, MN 55402                               Fax: (503) 295-6344
Tel: (651) 894-6800                                 thomas@prllaw.com
Fax: (651) 894-6801
sploen@ploen.com



Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                            Page 2
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                   Exhibit A – Part I to Plaintiff’s
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com        First Amended Complaint
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 3 of 112




                                                                          Ex. A - p. 1
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 4 of 112




                                                                          Ex. A - p. 2
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 5 of 112




                                                                          Ex. A - p. 3
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 6 of 112




                                                                          Ex. A - p. 4
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 7 of 112




                                                                          Ex. A - p. 5
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 8 of 112




                                                                          Ex. A - p. 6
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 9 of 112




                                                                          Ex. A - p. 7
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 10 of 112




                                                                           Ex. A - p. 8
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 11 of 112




                                                                           Ex. A - p. 9
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 12 of 112




                                                                           Ex. A - p. 10
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 13 of 112




                                                                           Ex. A - p. 11
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 14 of 112




                                                                           Ex. A - p. 12
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 15 of 112




                                                                           Ex. A - p. 13
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 16 of 112




                                                                           Ex. A - p. 14
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 17 of 112




                                                                           Ex. A - p. 15
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 18 of 112




                                                                           Ex. A - p. 16
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 19 of 112




                                                                           Ex. A - p. 17
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 20 of 112




                                                                           Ex. A - p. 18
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 21 of 112




                                                                           Ex. A - p. 19
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 22 of 112




                                                                           Ex. A - p. 20
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 23 of 112




                                                                           Ex. A - p. 21
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 24 of 112




                                                                           Ex. A - p. 22
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 25 of 112




                                                                           Ex. A - p. 23
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 26 of 112




                                                                           Ex. A - p. 24
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 27 of 112




                                                                           Ex. A - p. 25
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 28 of 112




                                                                           Ex. A - p. 26
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 29 of 112




                                                                           Ex. A - p. 27
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 30 of 112




                                                                           Ex. A - p. 28
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 31 of 112




                                                                           Ex. A - p. 29
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 32 of 112




                                                                           Ex. A - p. 30
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 33 of 112




                                                                           Ex. A - p. 31
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 34 of 112




                                                                           Ex. A - p. 32
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 35 of 112




                                                                           Ex. A - p. 33
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 36 of 112




                                                                           Ex. A - p. 34
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 37 of 112




                                                                           Ex. A - p. 35
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 38 of 112




                                                                           Ex. A - p. 36
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 39 of 112




                                                                           Ex. A - p. 37
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 40 of 112




                                                                           Ex. A - p. 38
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 41 of 112




                                                                           Ex. A - p. 39
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 42 of 112




                                                                           Ex. A - p. 40
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 43 of 112




                                                                           Ex. A - p. 41
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 44 of 112




                                                                           Ex. A - p. 42
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 45 of 112




                                                                           Ex. A - p. 43
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 46 of 112




                                                                           Ex. A - p. 44
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 47 of 112




                                                                           Ex. A - p. 45
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 48 of 112




                                                                           Ex. A - p. 46
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 49 of 112




                                                                           Ex. A - p. 47
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 50 of 112




                                                                           Ex. A - p. 48
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 51 of 112




                                                                           Ex. A - p. 49
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 52 of 112




                                                                           Ex. A - p. 50
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 53 of 112




                                                                           Ex. A - p. 51
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 54 of 112




                                                                           Ex. A - p. 52
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 55 of 112




                                                                           Ex. A - p. 53
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 56 of 112




                                                                           Ex. A - p. 54
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 57 of 112




                                                                           Ex. A - p. 55
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 58 of 112




                                                                           Ex. A - p. 56
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 59 of 112




                                                                           Ex. A - p. 57
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 60 of 112




                                                                           Ex. A - p. 58
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 61 of 112




                                                                           Ex. A - p. 59
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 62 of 112




                                                                           Ex. A - p. 60
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 63 of 112




                                                                           Ex. A - p. 61
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 64 of 112




                                                                           Ex. A - p. 62
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 65 of 112




                                                                           Ex. A - p. 63
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 66 of 112




                                                                           Ex. A - p. 64
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 67 of 112




                                                                           Ex. A - p. 65
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 68 of 112




                                                                           Ex. A - p. 66
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 69 of 112




                                                                           Ex. A - p. 67
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 70 of 112




                                                                           Ex. A - p. 68
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 71 of 112




                                                                           Ex. A - p. 69
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 72 of 112




                                                                           Ex. A - p. 70
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 73 of 112




                                                                           Ex. A - p. 71
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 74 of 112




                                                                           Ex. A - p. 72
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 75 of 112




                                                                           Ex. A - p. 73
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 76 of 112




                                                                           Ex. A - p. 74
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 77 of 112




                                                                           Ex. A - p. 75
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 78 of 112




                                                                           Ex. A - p. 76
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 79 of 112




                                                                           Ex. A - p. 77
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 80 of 112




                                                                           Ex. A - p. 78
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 81 of 112




                                                                           Ex. A - p. 79
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 82 of 112




                                                                           Ex. A - p. 80
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 83 of 112




                                                                           Ex. A - p. 81
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 84 of 112




                                                                           Ex. A - p. 82
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 85 of 112




                                                                           Ex. A - p. 83
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 86 of 112




                                                                           Ex. A - p. 84
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 87 of 112




                                                                           Ex. A - p. 85
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 88 of 112




                                                                           Ex. A - p. 86
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 89 of 112




                                                                           Ex. A - p. 87
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 90 of 112




                                                                           Ex. A - p. 88
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 91 of 112




                                                                           Ex. A - p. 89
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 92 of 112




                                                                           Ex. A - p. 90
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 93 of 112




                                                                           Ex. A - p. 91
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 94 of 112




                                                                           Ex. A - p. 92
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 95 of 112




                                                                           Ex. A - p. 93
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 96 of 112




                                                                           Ex. A - p. 94
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 97 of 112




                                                                           Ex. A - p. 95
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 98 of 112




                                                                           Ex. A - p. 96
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 99 of 112




                                                                           Ex. A - p. 97
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 100 of 112




                                                                            Ex. A - p. 98
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 101 of 112




                                                                            Ex. A - p. 99
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 102 of 112




                                                                       Ex. A - p. 100
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 103 of 112




                                                                       Ex. A - p. 101
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 104 of 112




                                                                       Ex. A - p. 102
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 105 of 112




                                                                       Ex. A - p. 103
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 106 of 112




                                                                       Ex. A - p. 104
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 107 of 112




                                                                       Ex. A - p. 105
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 108 of 112




                                                                       Ex. A - p. 106
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 109 of 112




                                                                       Ex. A - p. 107
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 110 of 112




                                                                       Ex. A - p. 108
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 111 of 112




                                                                       Ex. A - p. 109
Case 3:13-cv-01045-SI   Document 151-1   Filed 08/07/14   Page 112 of 112




                                                                       Ex. A - p. 110
